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1    McGREGOR W. SCOTT
     United States Attorney
2    PHILLIP A. TALBERT
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2789

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8                     IN THE UNITED STATES DISTRICT COURT

9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,     )
11                                 )          CR. No. S-05-0227-MCE
                    Plaintiff,     )
                                   )
12             v.                  )
                                   )          STIPULATION AND [PROPOSED] ORDER
13                                 )
     HECTOR MANRIQUEZ,             )
14                                 )
                    Defendant.     )
15   ______________________________)

16        It is hereby stipulated between the parties, Plaintiff United

17   States of America, by and through United States Attorney McGregor W.

18   Scott and Assistant United States Attorney Phillip A. Talbert, and

19   Defendant Hector Manriquez, through his attorney Lorie J. Teichert,

20   as follows:

21        It is agreed that a Status Conference date of August 9, 2005 at

22   8:30 a.m. be set before this Court.

23        The setting of a status conference date is necessary because

24   the status conference date of June 29, 2005 before Judge William B.

25   Shubb was vacated by order of this Court when this Court reassigned

26   this case to itself.    See Order of Related Case, June 17, 2005.

27                                        1
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1         The defense is reviewing discovery provided by the government

2    and the parties are discussing a possible resolution of this matter.

3    Defense counsel needs time to continue its review of materials

4    provided by the government, conduct pretrial investigation, and

5    continue discussions with the government about a possible

6    resolution.   Accordingly, the parties jointly request that the time

7    period from June 29, 2005, to and including August 9, 2005 be

8    excluded under the Speedy Trial Act pursuant to 18 U.S.C.

9    §3161(h)(8)(B)(iv) and Local Code T4 for defense preparation and

10   based on a finding by the Court that the ends of justice served by

11   granting a continuance outweigh the best interest of the public and

12   defendant in a speedy trial.

13
                                              Respectfully submitted,
14
     Dated: June 29, 2005                      /s/Lorie Teichert by PAT
15                                            LORIE TEICHERT
                                              Attorney for Defendant
16                                            HECTOR MANRIQUEZ

17
                                              McGREGOR W. SCOTT
                                              United States Attorney
18
     Dated: June 29, 2005                      /s/Phillip A. Talbert
19
                                              PHILLIP A. TALBERT
                                              Assistant U.S. Attorney
20
                                              Attorney for Plaintiff
21                                      ORDER
     IT IS SO ORDERED.
22   Dated: July 5, 2005
23

24
                                        ___________________________________
25                                      MORRISON C. ENGLAND, JR
                                        UNITED STATES DISTRICT JUDGE
26

27                                        2
